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                                           8/4/2022 10:50 AM
                                               22CV25652


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 I                    IN THE CIRCUIT COURT OF THE STATE OF OREGON

 I                               FOR THE COUNTY OF MULTNOMAH

10
     DAVID DYSKTRA                                          NO.:
11

12                         Plaintiff,                       COMPLAINT

13          V                                               (Negligence, Prem ises Liability)

14   COSTCO WHOLESALE CORPORATION,                          CLAIM FOR $1,037,000
     a foreign business corporation,                        oRS 21.160(1)(c)
15

16                         Defendant                        CLAIM NOT SUBJECT TO
                                                            MANDATORY ARBITRATION
17

18          Plaintiff alleges:
19                                              Gount   I

20                                           (Negligence)
21                                                1.

22          At all times material hereto, defendant Costco Wholesale Corporation
23   (hereinafter "Costco") was an active foreign business corporation doing business
24   throughout the State of Oregon and Multnomah County. At all times material hereto
25   defendant acted through their employees and/or agents either actual or apparent.
26   Hil
27

28   1      COMPLAINT                                                             SOKOL & ASSOCIATES, P.C.
                                                                                         Attorneys at Law
                                                                                300 Oswego Pointe Drive, Suite 101
                                                                                     Lake Oswego, OR 97034
                                                                              Phone 503.228.6469 Fax: 503.228.6551




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 1                                                    2.

 2             On or about May 1 ,2021, Plaintiff was a business invitee and customer at the
 3   Clackamas Costco (at 13130 SE 84th Avenue, Clackamas). Mr. Dysktra sat on one of
 4   the display chairs provided for customers, when because of the unreasonable conduct

 5   of Defendant the chair collapsed causing bodily injuries to the Plaintiff as hereinafter
 o   alleged. The chairs were displayed at the store for customers to sit on them to try them

 7   out.

 I                                                    4.

 I             The conduct of the Defendant by and through their employees and/or agents,
10   either actual or apparent, combining and concurring was negligent in one or more of the
11   following ways:

12             (a) ln failing and/or neglecting to install screws and hardware in the display chairs

13                  when they knew or reasonably should have known that the chair might

14                  collapse injuring anyone who sat on the chairs;
15             (b) ln failing and/or neglecting to have supervisors familiar with the assembling of

16                  the chairs and watching and participating in their assembly;
17             (c) ln failing and/or neglecting to follow construction instructions and diagrams
18                  when building the chairs;
19            (d) Placing the chairs in a place designed for customers to sit on them when

20                  Defendant knew or reasonably should have known that they were unsafe;

21            (e) ln failing and/or neglecting to test and inspect chairs by sitting on them prior

22                  to making them available for customers to sit on; and
23            (f)   ln failing and/or neglecting to warn people about any restrictions on sitting on

24                  the display chairs.
25   Hil
26   lHt
27

28   2   -    COMPLAINT                                                                SOKOL & ASSOCIATES, P.C.
                                                                                             Attorneys at Law
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 3             As a direct and proximate result of the unreasonable conduct of the Defendant,
 4   Plaintiff unexpectedly crashed onto the hard surface floor which resulted in a

 5   compression injury to his mid and lower spine, superimposed upon previous lumbar
 o   spinal surgeries atL2lL3 for spinal stenosis and neurogenic claudication. Plaintiff had

 7   spinal and other orthopedic hardware in place prior to the collapse of the chair and is

 I   facing a possible surgical hardware revision and foraminotomies at L5/Sl, Plaintiff is

 I   going to undergo a multiple level lumbar fusion atL4|LS and L3/L4 with significant

10   limitations of the range of motion of his spine and lower extremities. Plaintiff also

11   sustained bilateral compression of his spinal discs L5/Sl causing his previously existing
12   mild lumbar stenosis symptoms to increase significantly which resulted in new right leg

13   sciatica and increased left leg sciatica. The damages of the trauma to his multiple spinal

14   disc spaces caused other additional limitations of movement, weakness, and increased

15   pain.

16             Plaintiff has been rendered sick, sore, and nervous, emotionally distressed and
17   Plaintiffs injuries are permanent and progressive, all to his non-economic damages in
18   the sum of $750,000.
19                                                    6.

20             ln an effort to cure his injuries, Plaintiff has incurred drug, surgical, medical
21   x-ray, and hospital-related bills in the approximate sum to date of $10,000 and will incur

22   future medical and rehabilitative bills in the approximate sum of $60,000. Plaintiff has

23   lost income in the sum to date of $17,000 all to his economic damages in said sum.

24   ilil
25   Hil
26   HH
27

28   3   -     COMPLAINT                                                              SOKOL & ASSOCIATES, P.C.
                                                                                            Attorneys at Law
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 1                                                   7.

 2              Plaintiff worked as a fishing guide and as a further direct and proximate result of

 3   his injuries and the need for additional surgery due to the aggravation to his pre-existing

 4   spinal damages, Plaintiff has sustained a permanent impairment of his wage earning

 5   capacity in the sum of $200,000 all to his economic damages in said sum.
 6             WHEREFORE, Plaintiff requests judgment against Defendant for Plaintiffs
 7   economic and non-economic damages, as well as Plaintiffs costs and disbursements

 I   incurred, and such other relief as the court deems equitable and just.

 I
10             DATED: August 2,2022

11                                                         SOKOL & ASSOCIATES, P.C

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14
                                                      By
15                                                         LARRY N. S         L                75)
                                                           of Attorneys for Pla
16                                                         larry@sokol-law. net
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28   4   _     COMPLAINT                                                              SOKOL & ASSOCIATES, P.C.
                                                                                            Attorneys at Law
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